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 5   Attorneys for Defendant TECHTRONIC
     INDUSTRIES FACTORY OUTLETS, INC. and
 6   HOME DEPOT U.S.A., INC.
 7                                    UNITED STATES DISTRICT COURT
 8                                             DISTRICT OF NEVADA
 9   MARTY WEED, an individual,                                     Case No.: 2:21-cv-01961-RFB-DJA
                      Plaintiff,
10
     vs.                                          STIPULATION AND ORDER TO
11                                                EXTEND TIME FOR DEFENDANTS
     TECHTRONIC INDUSTRIES FACTORY OUTLETS, TECHTRONIC INDUSTRIES
12   INC. dba RYOBI TOOLS USA, a Foreign          FACTORY OUTLETS, INC. AND
     Corporation; HOME DEPOT U.S.A., INC. dba THE HOME DEPOT U.S.A., INC. TO
13   HOME DEPOT, a Foreign Corporation; DOES 1    SUBMIT AN OPPOSITION TO
     through 25,inclusive; and ROE CORPORATIONS 1 PLAINTIFF’S MOTION TO REMAND
14   through 25, inclusive;                       (First Request)
15                             Defendant(s).
16

17
              IT IS HEREBY STIPULATED by and between Plaintiff MARTY WEED, by and through his
18
19   counsel of record, Kyle Tatum of ACE LAW GROUP and Defendants TECHTRONIC INDUSTRIES

20   FACTORY OUTLETS, INC. dba RYOBI TOOLS USA and HOME DEPOT U.S.A., INC. dba THE
21   HOME DEPOT, LLC, by and through their counsel of record, Rosario M. Vignali and Ellen S.
22
     Bowman of WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP, as follows:
23
              1. Plaintiff filed a Motion To Remand on November 23, 2021 [ECF No. 11].
24
              2. Defendants counsel will be out of town during the time to oppose the Motion and further
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26                  needs additional to time to discuss Plaintiff’s Motion with the clients.

27            3. The current deadline for Defendants to submit their opposition is December 7, 2021.

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 1           4. The parties have stipulated to extend the deadline two weeks, making the new opposition

 2                  deadline, Tuesday, December 21, 2021.
 3
             IT IS SO STIPULATED.
 4
     Dated this __29th_ day of November, 2021.              Dated this _29th_ day of November, 2021.
 5
       WILSON, ELSER, MOSKOWITZ,                            KANG & ASSOCIATES, PLLC
 6     EDELMAN & DICKER LLP                                 ACE LAW GROUP
 7
       /s/ Ellen S. Bowman______________                    /s/ Kyle Tatum_____________________
 8
       ELLEN S. BOWMAN                                      KYLE TATUM
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       Las Vegas, NV 89119
                                                            6480 W. Spring Mountain Rd., Ste 1
10
       Attorney for Defendants                              Las Vegas, NV 89146
                                                            Attorney for Plaintiff
11

12                                                  ORDER

13           Upon stipulation of the parties, and for good cause appearing, IT IS HEREBY ORDERED that

14   the deadline for Defendants to submit their opposition to Plaintiff’s Motion to Remand is extended to
15
     Tuesday, December 21, 2021.
16
             IT IS SO ORDERED.
17

18
19                                                    ______________________________________
                                                         UNITED STATES MAGISTRATE JUDGE
20                                                    DATED this 29th day of November, 2021.
                                                         DATED:____________________________
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